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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

KERIMARIE SUTHERLAND,                              §
                                                   §
        Plaintiff,                                 §
                                                   §
vs.                                                §           NO. 3:23-CV-2665
                                                   §
OTB ACQUISITION LLC,                               §
                                                   §
        Defendant.
                                                   §



         DEFENDANT’S ANSWER TO PLAINTIFF’S ORIGINAL COMPLAINT

        Defendant OTB Acquisition, LLC d/b/a On the Border (“Defendant”) submits the

following Answer to the Original Complaint (Dkt. #1) of Plaintiff Kerimarie Sutherland

(“Plaintiff”) subject to the Joint Motion to Compel Arbitration and Stay Proceedings as follows:

                     ANSWER TO PLAINTIFF’S ORIGINAL COMPLAINT

        The allegations in Plaintiff’s Original Complaint (“Complaint”) are hereinafter answered,

subject to the Joint Motion to Compel Arbitration and Stay Proceedings, by the correspondingly

numbered paragraphs below.

                                          JURISDICTION

        1.      Defendant admits that this Court has jurisdiction as alleged in Paragraph 1 of the

Complaint but denies it violated any federal laws.

                                               VENUE

        2.      Regarding the allegations in Paragraph 2, Defendant admits that Plaintiff purports

to bring claims under 42 U.S.C. §2000e-5(f)(3), but denies any wrongdoing with respect to

Plaintiff or her employment and denies that Plaintiff is entitled to any of the relief requested in this




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Complaint. Defendant admits that its principal office is located at 2201 W Royal Lane, Suite 170,

Irving, Texas 75063.

                                            PARTIES

         3.    Defendant is without sufficient knowledge to admit or deny the allegations stated

in Paragraph 3 of the Complaint and therefore denies these allegations.

         4.    Defendant denies that it is a corporation as alleged in Paragraph 4 of the Complaint.

Defendant admits the remaining allegations in Paragraph 4 of the Complaint.

                                              FACTS

         5.    Defendant admits that Plaintiff worked at its Roanoke, Texas location. Defendant

admits that on or about February 21, 2021, Plaintiff was promoted to Shift Supervisor by her

General Manager, Walter Lowe. Defendant is without sufficient knowledge to admit or deny the

remaining allegations in Paragraph 5 of the Complaint and therefore denies these allegations.

         6.    Defendant is without sufficient knowledge to admit or deny the allegations in

Paragraph 6 of the Complaint and therefore denies these allegations.

         7.    Defendant admits the allegations in Paragraph 7 of the Complaint.

         8.    Defendant denies the allegations in Paragraph 8 of the Complaint.

         9.    Defendant admits that on August 17, 2021, it received notification that Plaintiff

would be on maternity leave beginning August 13, 2021. Defendant admits that the last day

Plaintiff worked before going on maternity leave is August 13, 2021. Defendant is without

sufficient information to admit or deny the allegations related to Plaintiff going on maternity leave

due to stress induced early labor. Defendant admits that on August 17, 2021, Plaintiff emailed

Avery Barrett regarding the FMLA process, but denies that that Avery Barrett handles FMLA

leave.




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       10.     Defendant admits that Plaintiff submitted a Leave of Absence form via email on

August 17, 2021, but is without sufficient information to admit or deny the remaining allegations

in Paragraph 10 of the Complaint and therefore denies these allegations.

       11.     Defendant admits that its payroll system automatically terminated Plaintiff on

September 16, 2021, and that she had to be rehired upon return from her leave of absence.

Defendant admits that in November 2021, Plaintiff called and left a voicemail for HR regarding

her termination, and that she was not reinstated as a manager or manager in training as Plaintiff

did not work in either of these positions before her leave of absence or termination. Defendant

denies the remaining allegations in Paragraph 11 of the Complaint.

       12.     Defendant admits that Plaintiff was rehired as a Server and Bartender. Defendant

admits that Plaintiff was not reinstated into a manager in training program, as she was not in such

a program before her leave of absence or termination. Defendant denies the remaining allegations

in Paragraph 12 of the Complaint.

       13.     Defendant admits that Plaintiff asked for a private place to pump breast milk and

that Defendant accommodated Plaintiff. Defendant denies the remaining allegations in Paragraph

13 of the Complaint.

       14.     Defendant is without sufficient information to admit or deny the allegations in

Paragraph 14 of the Complaint and therefore denies these allegations.

       15.     Defendant denies the allegations in Paragraph 15 of the Complaint.

       16.     Defendant denies the allegations in Paragraph 16 of the Complaint.

              DISCRIMINATION AND RETALIATION UNDER TITLE VII

       17.     Defendant admits the allegations in Paragraph 17 of the Complaint, but denies it

violated Title VII or any other federal laws.




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        18.      Defendant admits the allegations in Paragraph 18 of the Complaint, but denies that

it violated Title VII or any other federal laws.

        19.      Defendant denies the allegations in Paragraph 19 of the Complaint.

        20.      Defendant denies the allegations in Paragraph 20 of the Complaint.

        21.      Defendant denies the allegations in Paragraph 21 of the Complaint.

                                           FMLA VIOLATIONS

        22.      Defendant states that Paragraph 22 of the Complaint re-alleges Plaintiff’s

allegations in the preceding paragraphs and does not require a response. To the extent a response

is required, Defendant denies the allegations in Paragraph 22 of the Complaint.

        23.      Defendant admits the allegations in Paragraph 23 of the Complaint, but denies that

it violated the FMLA or any other federal laws.

        24.      Defendant admits the allegations in Paragraph 24 of the Complaint, but denies that

it violated the FMLA or any other federal laws.

        25.      Defendant admits the allegations in Paragraph 25 of the Complaint, but denies that

it violated the FMLA or any other federal laws.

        26.      Defendant denies the allegations in Paragraph 26 of the Complaint.

                                                 DAMAGES

        27.      [Incorrectly numbered as a second Paragraph 23 in the Complaint.] Defendant

denies that Plaintiff is entitled to any of the relief requested in Paragraph 27 1 of the Complaint.

Defendant also expressly denies that Plaintiff is entitled to any damages and/or relief arising out

of the Complaint as Defendant took no action nor committed any omission that would constitute

a violation of any local, state, or federal common or statutory law.


1
 This paragraph is incorrectly numbered as the second Paragraph 23. Thus, Defendant refers to this paragraph as
Paragraph 27.



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                                            ATTORNEY’S FEES

        28.      [Incorrectly numbered as a second Paragraph 24 in the Complaint.] Defendant

denies that Plaintiff is entitled to any of the relief requested in Paragraph 28 2 of the Complaint.

Defendant also expressly denies that Plaintiff is entitled to any damages and/or relief arising out

of the Complaint as Defendant took no action nor committed any omission that would constitute

a violation of any local, state, or federal common or statutory law.

                                      CONDITIONS PRECEDENT

        29.      [Incorrectly numbered as a second Paragraph 25 in the Complaint.] Defendant

denies that Plaintiff performed all conditions precedent and exhausted all required administrative

remedies under Title VII and the FMLA as alleged in Paragraph 29 3 of the Complaint.

                                          COURSE AND SCOPE

        30.      [Incorrectly numbered as a second Paragraph 26 in the Complaint.] Defendant

denies the allegations in Paragraph 30 4 of this Complaint.

                                                JURY TRIAL

        31.      [Incorrectly numbered as a second Paragraph 27 in the Complaint.] Defendant

states that Paragraph 31 5 of the Complaint amounts to a jury demand for which no response is

required. To the extent a response is required, Defendant denies.




2
  This paragraph is incorrectly numbered as the second Paragraph 24. Thus, Defendant refers to this paragraph as
Paragraph 28.
3
  This paragraph is incorrectly numbered as the second Paragraph 25. Thus, Defendant refers to this paragraph as
Paragraph 29.
4
  This paragraph s incorrectly numbered as the second Paragraph 26. Thus, Defendant refers to this paragraph as
Paragraph 30.
5
  This paragraph is incorrectly numbered as the second Paragraph 27. Thus, Defendant refers to this paragraph as
Paragraph 31.



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                                             PRAYER

       32.     In response to the unnumbered WHEREFORE Paragraph of the Complaint,

Defendant states that the allegations constitute a prayer for relief for which a response is not

required. To the extent a response is deemed required, Defendant denies the allegations contained

therein. Defendant also expressly denies that Plaintiff is entitled to any damages and/or relief

arising out of the Original Complaint as Defendant took no action nor committed any omission

that would constitute a violation of any local, state, or federal common or statutory law.

       33.     Unless otherwise expressly admitted herein, Defendant denies the truth of each and

every averment set forth in Plaintiff’s Original Complaint.

                         AFFIRMATIVE AND OTHER DEFENSES

       Defendant asserts the following affirmative and other defenses, which apply to the claims

asserted by Plaintiff. By asserting these affirmative defenses, Defendant does not concede that it

has the burden of proof as to any such defense. To the extent that any defenses or legal theories

asserted herein may be interpreted as being inconsistent, such defenses or legal theories are hereby

pleaded in the alternative. Defendant specifically reserves the right to supplement these pleadings

with further applicable defenses as more facts become available. Subject to and without waiving

the foregoing, and without waiving Plaintiff’s burden to show otherwise, Defendant pleads as

follows:

       1.      Plaintiff’s Complaint, in whole or in part, fails to state a claim upon which relief

can be granted.

       2.      Plaintiff’s Complaint should be dismissed, in whole or in part, to the extent Plaintiff

has failed to exhaust administrative remedies.




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       3.      Defendant pleads that the employment actions about which Plaintiff complains

were taken for reasons other than Plaintiff’s sex (pregnancy) or because Plaintiff requested leave,

or any other alleged protected status held by Plaintiff. Specifically, the employment actions

complained of by Plaintiff were based upon legitimate, non-retaliatory, and non-discriminatory

reasons.

       4.      Defendant affirmatively pleads that the employment actions taken with respect to

Plaintiff would have been taken in the absence of the alleged impermissible motivating factor,

discriminatory motive, or Plaintiff’s pregnancy or request(s) for FMLA leave.

       5.      Plaintiff’s claims are barred because Defendant did not interfere with Plaintiff

seeking or exercising her rights under the FMLA.

       6.      Plaintiff’s claims should be dismissed to the extent she failed to provide proper

notice of her entitlement to protected leave, failed to provide proper medical certification, and/or

was not entitled to or eligible for leave or other benefits under the FMLA.

       7.      Defendant pleads that Plaintiff’s claims for exemplary damages are barred because

Defendant had anti-discrimination and anti-retaliation policies and procedures in place and

Defendant made good-faith efforts to educate its employees on these policies. Defendant has at

all times exercised reasonable care to prevent and correct promptly any alleged retaliatory or

discriminatory terms and conditions of employment and Plaintiff unreasonably failed to take

advantage of any preventative and/or corrective opportunities and procedures provided by

Defendant or to otherwise avoid the harm about which Plaintiff now complains.

       8.      Defendant pleads that Plaintiff failed to mitigate her alleged damages, in whole or

in part, and Defendant is entitled to an offset of the extent of any mitigation by Plaintiff.




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       9.      Defendant pleads that Plaintiff has failed to allege facts sufficient to state a claim

for punitive damages.

       10.     Defendant pleads that Plaintiff’s claims for economic, compensatory, and punitive

damages and other relief are subject to all applicable statutory caps and limitations.

       11.     Defendant pleads that Plaintiff cannot recover punitive damages for any alleged

retaliation because any such alleged retaliation would be contrary to Defendant’s good faith efforts

to comply with laws governing such conduct. At all times, Defendant and its employees and agents

acted without malice or reckless indifference to Plaintiff’s rights.

       12.     Defendant pleads that Plaintiff’s claims are barred, or her recovery should be offset,

by the after-acquired evidence doctrine, if applicable.

       13.     To the extent that Plaintiff previously received compensation for Plaintiff’s unpaid

wages in connection with, or as a result of, a payment supervised by the Department of Labor, or

in connection with any other compromise, settlement, or release agreements, Defendant hereby

invokes the doctrine of waiver and res judicata to bar the claims asserted by Plaintiff.

       14.     Defendant alternatively pleads that to the extent that Plaintiff previously received

compensation for Plaintiff’s unpaid wages in connection with, or as a result of, a payment

supervised by the Department of Labor, or in connection with any other compromise, settlement,

or release agreements, Plaintiff’s recovery should be offset by all amounts that she previously

received.

       15.     To the extent that any of the individuals alleged to have discriminated or retaliated

against Plaintiff engaged in any of the conduct described in Plaintiff’s Complaint, Defendant

pleads that such actions were outside the scope of their employment, were contrary to policies and

directives of Defendant, and were not done in furtherance of Defendant’s business interests.




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          16.    As a result of Plaintiff’s actions herein, Defendant has been required to retain the

services of undersigned attorneys and, pursuant to applicable law, to the extent possible, Defendant

is entitled to an award of tis reasonable attorneys’ fees and for costs incurred in defending this

action.

          In addition to the foregoing defenses, Defendant reserves the right to amend its Answer to

raise any and all other additional affirmative and other defenses that may become evident during

discovery and during any other proceeding in this action or pursue any other available

counterclaims against Plaintiff as those claims become known during this litigation.

                                              PRAYER

          WHEREFORE, PREMISES CONSIDERED, Defendant prays that, upon a final hearing

of this matter, the Court grant judgment on behalf of Defendant; that Plaintiff takes nothing by the

above-captioned action; that Defendant recover all applicable and reasonable attorneys’ fees and

costs of court, and that Defendant be awarded such other and further relief, at law or in equity, to

which it may be justly entitled.




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Dated: December 26, 2023                   Respectfully submitted,

                                           /s/ Celeste R. Yeager
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                                           ATTORNEYS FOR DEFENDANT OTB
                                           ACQUISITION, LLC




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                                    CERTIFICATE OF SERVICE

         I hereby certify that on December 26, 2023, the foregoing document was electronically
filed in the above and foregoing with the Clerk of the Court, utilizing the ECF system, which sent
notification of such filing to the following:

         Jonathan J. “Jack” Walters
         3113 S. University Drive, #400
         Fort Worth, Texas 76109
         jack@walterslawofficepllc.com

         Attorney for Plaintiff


                                               /s/ Celeste R. Yeager
                                               Celeste R. Yeager



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